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                                               November 30, 2017

  VIA ECF

        Re:       In re: Invokana (Canagliflozin) Products Liability Litigation, MDL No. 2750
                  Master Case No. 3:16-md-2750 (BRM) (LHG)

  Dear Counsel:

        Please be advised that the following depositions have been adjourned. We will notify
  you when they have been rescheduled.

  Witness                     Date/Time                     Location
  Sukhdev Saran               December 5, 2017 at 9 a.m.    Drinker Biddle & Reath
                                                            600 Campus Dr.
                                                            Florham Park, NJ 07932
  Gary Meininger              December 19, 2017 at 9 a.m.   Drinker Biddle & Reath
                                                            600 Campus Dr.
                                                            Florham Park, NJ 07932

                                               Sincerely,

                                               /s Christopher A. Seeger
                                               CHRISTOPHER A. SEEGER
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                                               New York, New York 10005
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